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                                                                                   FILED

                             UNITED STATES DISTRICT COURT
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                              MIDDLE DISTRICT OF FLORIDA                   2010 HAY II AM 9: 36
                                JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                                          Case No.: 3:01-cr-138-HES-.JRK

 SHA WN RICI-IARDSON,

    Defendant.
 _ _ _ _ _ _ _ _ _ _1



                                            ORDER

        Before this Court is Defendant's Motion to Run Concurrent Sentences (Doc. 550, filed

 March 19, 20 I0). The Defendant is currently serving a slate sentence of 13 months in Liberty

 Correctional Institution. (See Case No.: 2009-CF-4 791) The Defendant requests that this Court

 run his federal sentence concurrently with the stale sentence he is presently serving; however,

 when this Court revoked Defendant's supervised release, it expressly stated Ihal his 14 month

 federal sentence is to run consecutively with his state selltence. (See Doc. 548, lilcd November

 25,2009). Thcrclore, it is ORDEIl-ED and ADJUDGED that Defendant's Motion is DENIED.


        DONE AND ENTERED at Jacksonvillc, Florida, this         Ir    day of May, 2010.




 Copics to:

 Shawn Richardson, Pro se
 Julie Hackcnbcrry Savcl1, AUSA
 Bureau of Prisons
